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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                VICTORIA DIVISION

STATE OF TEXAS,                      )
GUN OWNERS OF AMERICA, INC.,         )
GUN OWNERS FOUNDATION, and           )
BRADY BROWN,                         )
                                     )               Case No. 6:23-cv-00013
   Plaintiffs,                       )
                                     )
       v.                            )
                                     )
BUREAU OF ALCOHOL, TOBACCO,          )
FIREARMS AND EXPLOSIVES, UNITED )
STATES DEPARTMENT OF JUSTICE, and)
STEVEN M. DETTELBACH in his official )
capacity AS THE DIRECTOR OF ATF,     )
                                     )
   Defendants.                       )
                                     )
____________________________________)


                              ENTRY OF APPEARANCE

To:     The Honorable Nathan Ochsner
        U.S. District Court for the Southern District of Texas
        312 S. Main, Room 406
        Victoria, TX 77901

      Please formally enter my appearance in the above-styled matter on behalf of the

Plaintiffs Gun Owners of America, Inc., Gun Owners Foundation, and Brady Brown.

Dated: February 9, 2023.

                                      /s/ Gilbert J. Ambler
                                      GILBERT J. AMBLER
                                      Virginia Bar No. 94325
                                      Southern District of Texas No. 3834055
                                      20 S. Braddock St
                                      Winchester, VA 22601
                                      (540) 550-4236
                                      gilbert@amblerlawoffices.com
